           Case 1:21-cv-00796-RP Document 78 Filed 10/13/21 Page 1 of 8




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                     Case No. 1:21-cv-796 RP

STATE OF TEXAS                                                                       DEFENDANT

               INTERVENOR OSCAR STILLEY’S ANSWER TO COMPLAINT

Comes now Intervenor Oscar Stilley, (Stilley) and for his answer to complaint states:

1.      Stilley admits paragraph 1.

2.      Stilley admits paragraph 2.

3.      Stilley neither admits nor denies paragraph 3. The United States intentionally and

unlawfully thwarts persons within its custody from gaining effective judicial review of their

convictions, sentences, and conditions of confinement. The United States therefore has unclean

hands and should be denied the ability to raise these claims until it ceases and desists from doing

the very things for which it condemns the State of Texas.

4.      Stilley neither admits nor denies paragraph 4. This is the key issue for decision in this

case.

5.      Stilley neither admits nor denies paragraph 5, for the reasons stated in the foregoing

paragraphs.

6.      Paragraph 6 is a statement concerning relief claimed. Stilley neither admits nor denies

paragraph 6.

7.      Stilley admits paragraph 7.

8.      Stilley neither admits nor denies paragraph 8.


                                                  1
          Case 1:21-cv-00796-RP Document 78 Filed 10/13/21 Page 2 of 8




9.     Stilley admits paragraph 9.

10.    Stilley admits paragraph 10.

11.    Stilley admits paragraph 11, except the legal conclusion that “the State of Texas” includes

private parties, which Stilley neither admits nor denies.

12.    Stilley admits paragraph 12.

13.    Stilley neither admits nor denies paragraph 13. The United States intentionally thwarts

persons within its custody from gaining effective judicial review of their convictions, sentences,

and conditions of confinement. The United States therefore has unclean hands and should be

estopped from raising these claims until it ceases and desists from doing the very things for

which it condemns the State of Texas.

14.    Stilley neither admits nor denies paragraph 14-19 inclusive.

15.    Stilley admits paragraphs 20-31.

16.    Stilley admits paragraph 32 except for the legal conclusion that SB8's monetary awards

constitute “state activity” in violation of the 14th Amendment rights of Texas women.

17.    Stilley neither admits nor denies paragraphs 33-40, which mostly involve legal

conclusions.

18.    Stilley admits paragraphs 41-43.

19.    Stilley admits paragraph 44, except the legal conclusion that the United States may sue to

vindicate its interests. Stilley denies that the United States has any such rights while it maintains

unclean hands, by engaging in behavior just as bad as that of which it complains.

20.    Stilley admits paragraphs 45-78, subject to the following proviso. Stilley sees nothing in

SB8 that excuses persons who assist someone else in traveling out of state for an abortion, from


                                                  2
            Case 1:21-cv-00796-RP Document 78 Filed 10/13/21 Page 3 of 8




liability for that act.

21.     Stilley admits paragraph 79. Stilley is already involved in litigation pursuant to SB8.

22.     Paragraphs 80-91 involve claims for relief. Stilley neither admits nor denies these

paragraphs, but to the extent that a response is required, they are denied.

23.     The prayer for relief does not require a response. To the extent that a response to the

prayer is required, Stilley denies same.

24.     Any paragraph not specifically addressed is hereby denied. As to all paragraphs neither

admitted nor denied, to the extent that Stilley is required to admit or deny, they are denied.

25.     Stilley reserves to himself the benefit of all arguments made by the State of Texas or

other intervenors in this case. Stilley claims all rights successfully urged by the State of Texas or

other intervenors. Stilley claims rights equal to all other persons similarly situated, whether or

not they happen to be parties to this litigation.

        AFFIRMATIVE DEFENSES

26.     Pleading affirmatively, the United States has unclean hands because it commits the same

evils for which it now condemns the State of Texas.

27.     Pleading affirmatively, the United States is estopped from claiming that the State of

Texas is forbidden to obstruct the rights of Texas women to the rights of peaceful petition,

reasonable access to the courts, due process, etc., so long as it commits those very offenses

against persons in its own custody.

28.     Pleading affirmatively, the United States routinely puts criminal defendants in jail or

prison, for the express purpose of destroying their ability to effectively defend at trial or

sentencing, or to effectively appeal a conviction or sentence.


                                                    3
           Case 1:21-cv-00796-RP Document 78 Filed 10/13/21 Page 4 of 8




29.     Pleading affirmatively, the United States has done this very thing to Stilley.

30.     Pleading affirmatively, the United States deliberately denies access to computers,

software, peripherals, tech support, office equipment, and office supplies, so as to ensure that

inmates in federal custody are not able to effectively vindicate their rights of peaceful petition,

reasonable access to the courts, due process, etc.

31.     Pleading affirmatively, in US v. Stilley, OKND 4:09-cr-43, Stilley was denied access to

his transcript prior to sentencing, so he wouldn’t be able to expose the falsehoods used against

him at sentencing, and also wouldn’t be able to prosecute the one direct appeal to which he was

and still is entitled by law.

32.     Pleading affirmatively, after Stilley was incarcerated on the last day of sentencing in

OKND 4:09-cr-43, the United States Department of Justice, (DOJ) through its subsidiary the

Federal Bureau of Prisons, (DOJ-FBOP) seized Stilley’s set of docket items, consisting of some

4,000 pages, along with other legal papers, and sent them back to his wife. Stilley wasn’t given

notice or opportunity to be heard, as required by official DOJ-FBOP policy.

33.     Pleading affirmatively, the smartest lawyer on planet earth cannot effectively prepare a

criminal appeal brief without access to the official court record, especially one where, as in

Stilley’s case, the trial took three weeks and the sentencing took three days.

34.     Pleading affirmatively, Stilley was denied access to the tools indispensable to the

effective prosecution of his appeal in OKND 4:09-cr-43.

35.     Pleading affirmatively, Stilley never filed his own appeal brief, in 10th Circuit Appeal #

10-5057, (appeal of judgment and commitment order in OKND 4:09-cr-43) because he was

denied access to those things indispensable to a competent appeal.


                                                  4
           Case 1:21-cv-00796-RP Document 78 Filed 10/13/21 Page 5 of 8




36.     Pleading affirmatively, Stilley was relegated to joining his co-defendant’s brief, without

being allowed to prepare and file a competent appeal brief of his own.

37.     Pleading affirmatively, the United States at this very time is attempting to prevent Stilley

from getting a ruling on the merits of arguments that would clearly require his criminal judgment

to be set aside and vacated altogether. See OKND 4:09-cr-43, Docket entries 701-712. Such

behavior flagrantly violates applicable attorney rules of ethics.

38.     Pleading affirmatively, Stilley has been abused and persecuted over more than 10 years of

incarceration, for his efforts to vindicate his own right to peacefully petition for the redress of

grievances, as well as those same rights held by other inmates similarly situated.

39.     Pleading affirmatively, Stilley has spent over 400 days in SHU (Special Housing Unit, or

jail for the prison) on hunger strike, mostly either directly or indirectly because of his efforts to

vindicate his 1st Amendment right of peaceful petition, for himself and for other inmates

similarly situated.

40.     Pleading affirmatively, Stilley has been force fed with a nasogastric tube 8 times, and

threatened with it many more times, due to his efforts to get the right of peaceful petition for

himself and for inmates similarly situated.

41.     Pleading affirmatively, Stilley has been punished with approximately 13 “shots” (formal

disciplinary incident reports) primarily in retaliation for his efforts to get the right of reasonable

access to the courts, 1st Amendment peaceful petition, etc.

42.     Pleading affirmatively, these shots have cost Stilley approximately 150 days of lost Good

Conduct Time (GCT).

43.     Pleading affirmatively, Stilley has offered to donate computers, software, peripherals,


                                                   5
          Case 1:21-cv-00796-RP Document 78 Filed 10/13/21 Page 6 of 8




tech support, office equipment, and office supplies, sufficient to ensure that inmates in federal

custody are able to effectively vindicate their rights of peaceful petition, reasonable access to the

courts, due process, etc.

44.    Pleading affirmatively, Stilley has caused this offer to be made approximately 10 times,

over an extended period of time, by many different persons.

45.    Pleading affirmatively, the United States Attorney General’s office routinely

acknowledges receipt of such offers, but refuses to communicate or respond further.

46.    Pleading affirmatively, the substance of this offer may be reviewed at

www.bustingthefeds.com, by clicking the link for the free digital version of the book entitled

“Busting the Feds: How to Effectively Defend Yourself Against Federal Criminal Charges” (on

the main page) and navigating to Appendices 10 and 11 of the book.

47.    Pleading affirmatively, the United States engaged in behavior in the Eastern District of

Arkansas, in Oscar Stilley v. United States, et al, ARED 2:15-cv-163, designed to prevent Stilley

from being able to effectively prosecute his civil case.

48.    Pleading affirmatively, in ARED 2:15-cv-163 Stilley’s adversary the DOJ-FBOP received

2,899 pages of discovery from the government, consisting mostly of Stilley’s medical records.

Stilley was not allowed to make a copy (whether hard or soft) or actually use the discovery to

prosecute his meritorious civil case. Stilley lost the case because he had no practical access to

discovery that the government admitted was due to him.

49.    Pleading affirmatively, to this day Stilley does not have a copy of this discovery or his

medical records “served” on his adversaries in that case. Stilley cannot, for example, know if he

needs a tetanus shot, because he cannot see when he last got one while in federal custody.


                                                  6
           Case 1:21-cv-00796-RP Document 78 Filed 10/13/21 Page 7 of 8




50.    Pleading affirmatively, in Stilley v. Whitaker et al, Southern District of Mississippi

(MSSD) 3:19-cv-6, Stilley filed a 69 page complaint with 285 pages of exhibits. Amongst other

things Stilley attacked the denial of access to those things indispensable to his one direct appeal.

51.    Pleading affirmatively, when this complaint was unceremoniously dismissed, Stilley

pursued an appeal to the 5th Circuit, styled Oscar Stilley v. Robert Wilkinson et al, (Stilley v.

Merrick Garland et al in the reply) 5th Circuit Case No. 21-60022. This appeal is fully briefed

and currently awaiting a decision.

52.    Pleading affirmatively, Stilley has at all times vigorously claimed, advanced, and litigated

his right to reasonable access to the courts, sufficient to allow him to prosecute the one direct

appeal to which he is entitled.

53.    Pleading affirmatively, the United States can cleanse its hands without any expense to the

taxpayers. In fact Stilley is vehemently opposed to using tax dollars for laudable objects that

inmates could and would do for themselves at their own expense, but for the obstructionist

tactics of the DOJ. Stilley is willing to collaborate with the DOJ and its subsidiary the DOJ-

FBOP, in order to ensure that their interests in the safety and security and good order of federal

prison institutions are respected, in the provision of reasonable educational resources to federal

prisons.

54.    Pleading affirmatively, Stilley will withdraw the affirmative defenses of unclean hands

and estoppel, if the DOJ ceases and desists from crushing the litigation capabilities of its

adversaries.

WHEREFORE, Stilley respectfully requests that the Court deny the United States any relief

whatsoever, on final ruling, until the United States cleanses its unclean hands; that the Court


                                                  7
          Case 1:21-cv-00796-RP Document 78 Filed 10/13/21 Page 8 of 8




thereupon enter a final order consistent with justice and the rule of law; and for such other and

further relief as may be appropriate whether or not specifically requested.


Respectfully submitted.



By: /s/ Oscar Stilley                         October 13, 2021
Oscar Stilley
10600 N Highway 59
Cedarville, AR 72932-9246
479.384.2303 cell phone
479.401.2615 fax
oscarstilley@gmail.com

                                  CERTIFICATE OF SERVICE

Oscar Stilley by his signature above certifies that he has caused this pleading to be served on all
parties entitled to service, via CM/ECF, upon filing by the clerk.




                                                 8
